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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION
HANGZHOU CHIC INTELLIGENT                         )
TECHNOLOGY CO. and UNICORN                        )
GLOBAL, INC.,                                     )
                                                  )
                       Plaintiffs,                )   Case No. 20-cv-4806
                                                  )
         v.                                       )   Judge Thomas M. Durkin
                                                  )   Magistrate Judge Jeffrey Cole
CHEAPAANZEE, et al.,                              )
                                                  )   FILED UNDER SEAL
                       Defendants.                )
                                                  )

                           PRELIMINARY INJUNCTION ORDER

         THIS CAUSE being before the Court on Plaintiffs Hangzhou Chic Intelligent Technology

Co. (“Chic”) and Unicorn Global Inc. (“Unicorn”) (collectively, “Plaintiffs”) Motion of Entry of

a Preliminary Injunction, and this Court having heard the evidence before it hereby GRANTS

Plaintiffs’ Motion for Entry of a Preliminary Injunction in its entirety against Defendants who

operate e-commerce stores under one or more seller aliases identified in the attached Schedule A,

Schedule B, and Schedule C (collectively, “Defendant Internet Stores”).

         THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants since

Defendants directly target their business activities toward consumers in the United States,

including Illinois. Venue is also appropriate under 28 U.S.C. § 1391(c). Specifically, Defendants

have targeted sales to Illinois residents by setting up and operating e-commerce stores that offer

shipping to the United States, including Illinois, accept payment in U.S. dollars, provide

confirmation emails identifying the consumers’ addresses, including Illinois addresses, and have

sold products that directly and/or indirectly infringe on Plaintiffs’ United States design patents

(“Patents-in-Suit”) as shown in the chart below to residents of Illinois.


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         The following table illustrates the figures in the D737,723 patent (“the ’D723 patent”).

    Patent                                     Claim                                  Issue Date
   Number                                                                             September
   D737,723                                                                             1, 2015




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    Patent                            Claim                            Issue Date
   Number                                                              September
   D737,723                                                              1, 2015




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         The following table illustrates the figures in the D738,256 (“the ’D256 patent”).

    Patent                                     Claim                                  Issue Date
   Number                                                                             September
   D738,256                                                                             8, 2015




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    Patent                            Claim                            Issue Date
   Number                                                              September
   D738,256                                                              8, 2015




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         The following table illustrates the figures in the D785,112 (“the ’D112 patent”).

    Patent                                     Claim                                  Issue Date
   Number
   D785,112                                                                            April 25,
                                                                                        2017




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     Patent                                    Claim                                  Issue Date
    Number




         The following table illustrates the figures in the D784,195 (“the ’D195 patent”).

   Patent                                      Claim                                  Issue Date
  Number
  D784,195                                                                             April 18,
                                                                                        2017




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    Patent                                     Claim                                    Issue Date
   Number




         THIS COURT FURTHER FINDS that injunctive relief previously granted in the

Temporary Restraining Order (“TRO”) should remain in place through the pendency of this

litigation and that issuing this Preliminary Injunction is warranted under Federal of Civil Procedure

65. Evidence submitted in support of this Motion and in support of Plaintiffs’ previously granted

Motion for Entry of a Temporary Restraining Order establishes that Plaintiffs have demonstrated

a likelihood of success on the merits; that no remedy at law exists; and that Plaintiffs will suffer

irreparable harm if the injunction is not granted. Specifically, Plaintiffs have proved a prima facie

case of design patent infringement because (1) Plaintiffs are the lawful assignee of all rights, title


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and interest in and to the Patents-in-Suit, (2) Defendants make, use, offer for sale, sell, and/or

import into the United States for subsequent sale or use products that directly and/or indirectly

infringe the Patents-in-Suit, and (3) an ordinary observed would be deceived into thinking the

products sold on Defendant Internet Stores (“Infringing Products”) are the same as the products

manufactured and sold by Plaintiffs that utilize the Patents-in-Suit (“Plaintiffs’ Products”).

Furthermore, Defendants’ continued and unauthorized use of the Patents-in-Suit irreparably harms

Plaintiffs through loss of customer goodwill, reputational harm, and Plaintiffs ability to exploit the

Patents-in-Suit. Monetary damages fail to address such damage and, therefore, Plaintiffs have an

inadequate remedy at law. Moreover, the public interest is served by entry of this Preliminary

Injunction to dispel the public confusion created by Defendants’ actions. As such, this Court

orders that:

         1.    Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under or in active concert with them be

preliminarily enjoined and restrained from:

               a.      offering for sale, selling, and importing any products not authorized by

Plaintiffs and that include any reproduction, copy or colorable imitation of the design claimed in

the Patents-in-Suit;

               b.      aiding, abetting, contributing to, or otherwise assisting anymore in

infringing upon the Patents-in-Suit; and

               c.      effecting assignments or transfers, forming new entities or associations or

utilizing any other device for the purpose of circumventing or otherwise avoiding the prohibitions

set forth in subparagraphs (a) and (b).




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         2.    PayPal, Inc. (“PayPal”), Amazon Pay, Walmart Marketplace payment partner(s),

Payoneer.com, (collectively the “Third Party Payment Providers”) that provide payment

processing services to Defendants and any third party with actual notice of this Order who is

providing services for any of the Defendants, or in connection with any of the Defendant Internet

Stores or other online marketplace accounts operated by Defendants, including, without limitation,

any online marketplace platforms such as eBay, Amazon.com, and Walmart, web hosts, sponsored

search engine or ad-word providers, credit cards, banks, merchant account providers, third party

processors and other payment processing service providers, and Internet search engines such as

Google, Bing, and Yahoo (collectively, the "Third Party Providers"), shall, within ten (10) business

days of receipt of this Order, provide to Plaintiffs expedited discovery, including copies of all

documents and records in such person’s or entity’s possession or control relating to:

               a.      the identities and locations of Defendants, their agents, servants, employees,

confederates, attorneys, and any persons acting in concert or participation with them, including all

known contact information, and all associated e-mail addresses;

               b.      the nature of Defendants’ operations and all associated sales, methods of

payment for services and financial information, including, without limitation, identifying

information associated with Defendant Internet Stores and Defendants’ financial accounts, as well

as providing a full accounting of Defendants’ sales and listing history related to their respective

Defendant Internet Stores; and

               c.      any financial accounts owned or controlled by Defendants, including their

agents, servants, employees, confederates, attorneys, and any persons acting in concert or

participation with them, including such accounts residing with or under the control of any banks,

savings and loan associations, payment processors or other financial institutions including, without




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limitation, PayPal, Amazon Pay, and other merchant account providers, payment providers, third

party processors, and credit card association (i.e., MasterCard and VISA).

         3.    Defendants and any persons in active concert or participation with them who have

actual notice of this Order shall be restrained and enjoined from transferring or disposing of any

money or other Defendants’ assets until further ordered by this court. Except that this paragraph

shall not apply to any defendant in Schedule B for whom Plaintiffs receive official registration

documents filed with any state’s Secretary of State (or analogous business registration agency),

showing that such defendant is actively registered or based in a U.S. state but outside of the

Northern District of Illinois. If Plaintiff had requested that any person restrain the transfer and

disposition of any such defendant’s assets prior to Plaintiffs’ receipt of such documentation, within

10 days of receipt of such documentation Plaintiffs will instruct such person to remove the

restraint.

         4.    Upon Plaintiffs’ request, those with notice of the injunction, including the Third

Party Payment Providers and Third Party Providers as defined in Paragraph 2, shall within five (5)

days after receipt of such notice shall:

               a.      disable and cease providing services being used by Defendants, currently or

in the future, to engage in the sale of goods that infringe the Patents-in-Suit;

               b.      disable and cease displaying any advertisements or listings used by or

associated with Defendants in connection with the sale of infringing goods using Patents-in-Suit;

and

               c.      take all steps necessary to prevent links to the Defendant Internet Stores

identified on Schedule A, Schedule B, and Schedule C from displaying in search results, including,

but not limited to, removing links to the defendant Internet Stores from any search index.




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         5.    Upon Plaintiffs’ request, any third party with actual notice of this Order who is

providing services for any of the Defendants or in connection with any of Defendant Internet

Stores, including, without limitation, any online marketplace platforms such as shall, within ten

(10) business days after receipt of such notice, provide Plaintiffs expedited discovery, including

copies of all documents and records in such person’s or entity’s possession or control relating to:

               a.      the aliases, merchant tokens, identities, seller IDs, and locations of

Defendants, their agents, servants, employees, confederates, attorneys, and any persons acting in

concert or participation with them, including all known contact information and all associated e-

mail addresses;

               b.      the nature of Defendants’ operations and all associated sales, methods of

payment for services and financial information, including, without limitation, identifying

information associated with the Defendant Internet Stores and Defendants’ financial accounts, as

well as providing a full accounting of Defendants’ sales and listing history related to their

respective Defendant Internet Stores;

               c.      any other online marketplace accounts registered by Defendants; and

               d.      any financial accounts owned or controlled by Defendants, including their

agents, servants, employees, confederates, attorneys, and any persons acting in concert or

participation with them, including such accounts residing with or under the control of any banks,

savings and loan associations, payment processors or other financial institutions, including without

limitation, the Third Party Payment Providers, or other merchant account providers, payment

providers, third party processors, and credit card associations, such as MasterCard and Visa.

         6.    Plaintiffs are authorized to issue expedited written discovery under Federal Rules

of Civil Procedure 33, 34, and 36 related to:




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               a.     the aliases, merchant tokens, identities, seller IDs, and locations of

Defendants, their agents, servants, employees, confederates, attorneys, and any persons acting in

concert or participation with them, including all known contact information, including any and all

associated e-mail addresses; and,

               b.     the nature of Defendants’ operations and all associated sales, methods of

payment for services and financial information, including, without limitation, identifying

information associated with the Defendant Internet Stores and Defendants’ financial accounts, as

well as providing a full accounting of Defendants’ sales and listing history related to their

respective Defendant Internet Stores.

               c.     Plaintiffs are authorized to issue any such expedited discovery requests by

e-mail. Defendants shall respond to any discovery requests within ten (10) days of being served

by e-mail.


         7.    Plaintiffs may provide notice of these proceedings to Defendants, including notice

of the preliminary injunction hearing and service of process under Federal Rule of Civil Procedure

4(f)(3), and any future motions by sending an email to any email addresses provided for

Defendants by the Third Party Providers. The Clerk of the Court is directed to issue a single

original summons in the name of “CHEAPAANZEE and all other Defendants identified in the

Second Amended Complaint” that shall apply to all Defendants. The combination of providing

notice via electronic publication and e-mail, along with any notice that Defendants receive from

payment processors, shall constitute notice reasonably calculated under all circumstances to

apprise Defendants of the pendency of the action and afford them the opportunity to present their

objections.




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         8.    The Complaint, Amended Complaint, Second Amended Complaint, Third

Amended Complaint, and Exhibits 1, 2, 3, 4, and 5 to the aforementioned documents; Schedule A

attached to the Complaint, Amended Complaint, and Second Amended Complaint; Schedule A,

Schedule B, and Schedule C attached to the Second Amended Complaint; Plaintiffs’ Motion for

entry of a Temporary Restraining Order, including a Temporary Injunction, a Temporary Asset

Restraint, and Expedited Discovery, and accompanying supporting memorandum, declarations of

Jiawei Ying and Jinyuan Lei, and Plaintiffs’ Motion for Electronic Service of Process Under Fed.

R. Civ. P. 4(f)(3), and accompanying supporting memorandum, declaration of Arthur Tan-Chi

Yuan, and accompanying exhibits; Plaintiffs’ Notification of Affiliates; and Plaintiffs’ Notice of

Claims Involving Patents, and the TRO are unsealed.

         9.    Plaintiffs shall deposit with the Court ten thousand dollars ($10,000), either cash or

surety bond, as security, which amount was determined adequate for the payment of such damages

as any person may be entitled to recover as a result of a wrongful restraint hereunder, such bond

to be deposited with the Court once in-person civil case hearings resume.

         10.   Any Defendants that are subject to this Order may appear and move to dissolve or

modify the Order on two days’ notice to the Plaintiffs or shorter notice as set by this Court.



DATED: November 24, 2020

                                                             _____________________________
                                                             Thomas M. Durkin
                                                             United States District Judge




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